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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

    JANICE BUSH, as Special Administrator
    for the Estate of Ronald Garland, deceased,


                  Plaintiff,

    v.                                                         Case No. 19-CV-98-JFH-CDL

    BRET BOWLING, in his official capacity
    as Sheriff Creek County, Oklahoma,

                  Defendant.


                                              ORDER
          Before the Court is the Report and Recommendation [Dkt. No. 381] of United States

   Magistrate Judge Christine D. Little. The Magistrate Judge recommends that Plaintiff’s motion for

   the apportionment of settlement proceeds and approval of the amount of attorney’s fees and costs

   [Dkt. No. 376] be granted. Dkt. No. 381 at 7.

          Neither party objected to the Magistrate Judge’s Report and Recommendation within the

   14-day period prescribed by 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72(b). Having

   reviewed the Report and Recommendation, the Court concurs with the Magistrate Judge’s

   recommendation, and accepts and adopts it as the order of the Court. On that basis, Plaintiff’s

   motion for the apportionment of settlement proceeds and approval of the amount of attorney’s fees

   and costs [Dkt. No. 376] is GRANTED.

          IT IS SO ORDERED this 24th day of June, 2021.



                                                       ____________________________________
                                                       JOHN F. HEIL, III
                                                       UNITED STATES DISTRICT JUDGE
